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December 27, 2023                                                                                   Mark D. Selwyn
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Clerk of Court
United States Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, DC 20439

Re: Apple Inc. v. ITC, No. 24-1285

    I write in response to the letters filed yesterday by Appellee International Trade Commission
and Proposed Intervenors Masimo Corporation and Cercacor Laboratories Inc. (collectively,
“Masimo”). See Dkts. 10, 15.

     1. Respectfully, the Commission’s proposal to wait ten days before responding to Apple’s
request for immediate relief would vitiate the purpose of interim relief. Tellingly, neither the
Commission nor Masimo disputes that this Court has granted a request for immediate relief in a
comparable ITC proceeding less than 72 hours after it was filed. See Allergan Limited v. ITC, No.
21-1653, ECF No. 23, 24 at 3 (Feb. 15-16, 2021) (“The motion for an interim stay is granted to
the extent that the Remedial Orders are temporarily stayed and the government is directed not to
enforce the Remedial Orders until further notice[.]”).

      Masimo does not even attempt to distinguish Allergan, and the Commission’s efforts to do
so are unavailing. First, the Commission argues that the harm suffered by the Allergan movant in
the absence of a stay was greater than the harm Apple will suffer here. Dkt. 10 at 2. But that
directly contradicts the position the Commission took in Allergan itself. Allergan, No. 21-1653,
ECF No. 14 at 14 (arguing that Allergan movant did not identify any “irreparable harm that would
be caused without an interim stay”). In any event, as Apple’s pending motions explain, Apple will
suffer continuing irreparable harm to its reputation and goodwill if it is barred from importing and
selling its flagship Apple Watch products with pulse oximetry. Dkt. 5 at 6-7, Dkt. 7 at 18-20. 1

     The U.S. Customs office has targeted January 12 as the date for a ruling on Apple’s proposed
redesign, Dkt. 5 at 8-9—i.e., two days after January 10, the date that the Commission has stated is
the earliest it can file its opposition to Apple’s motion to stay pending appeal. Given that timing,
a stay could make the difference between Apple having to completely remove the covered Watch
models from the market for a period spanning nearly three weeks and Apple being able to continue
to import those models in a redesigned form.

     Second, the Commission contends that Allergan is distinguishable because Apple “ma[de]
no … attempt to minimize prejudice” to “other parties” (presumably Masimo) by requesting that

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 The Commission’s suggestion that its orders are not truly significant because they do not bar importation/sale of
every Apple product (or of one older model of Watch) is in tension with Masimo’s letter, which shows that the ban
made national news. Compare Dkt. 10 at 2 with Dkt. 15 at 1 (citing CNN article).
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this Court order a bond. Dkt. 10 at 2. But the Commission itself “determined that the bond during
the period of Presidential review shall be in the amount of zero percent (0%, i.e., no bond),” Dkt
7, at Stay-Add-153, so it is unclear why the Commission now faults Apple for not requesting this
Court order Apple to post a bond. Further, the Commission diverges from the Allergan record, as
the Allergan movant argued that no bond was necessary because “Allergan has conceded it suffers
no material harm” from a stay. Allergan, No. 21-1653, ECF No. 21 at 9. The argument for no
bond is all the stronger here, where Masimo has also been unable to identify any monetary harm
it will suffer from a stay, Dkt. 7 at 20-21. 2 Indeed, Masimo has filed a district court case seeking
monetary damages from Apple on the same patents for which the Commission found a violation,
giving Masimo the ability to receive compensation for any infringement (although, as Apple will
demonstrate in the merits appeal, there is none).

      2. Masimo’s chief argument is that there is no emergency warranting a stay because Apple
did not inform the Court that it halted sales of its flagship Watch products shortly before the
Commission’s Orders went into effect. Dkt. 15 at 1. Masimo is wrong, as Apple noted that its
“flagship Watch products … were on the market as recently as last week.” Dkt. 7 at 3; see also
Dkt. 5 at 3. More fundamentally, Masimo’s argument is a non-sequitur: that Apple is not selling
these products now shows the harm to Apple rather than disproves the harm. Apple ceased sale
of the covered Watches to ensure compliance with the Commission’s Orders. Apple’s last day of
in-store sales of the covered Watches was December 24, 2023—i.e., the last day the Apple Store
was open in the United States before the Orders took full effect. Apple stopped allowing customers
to place online orders even earlier to make sure it could complete deliveries before the deadline.

     In short, Apple has done everything in its power to both respect the Commission’s Orders (by
removing covered Watches from the market in advance of the Orders taking effect) while
vigorously pursuing injunctive relief (filing the interim stay motion at 8:30am on the first day it
was permitted to do so under this Court’s precedent). It is another non-sequitur for Masimo to
suggest that Apple’s compliance with the Commission’s orders means Apple will not suffer
irreparable harm absent a stay. Taking Masimo’s argument to its logical conclusion would mean
that Apple—or any other ITC respondent—would have to defy the Commission and federal law
by continuing to sell a product in violation of the Commission’s Orders to receive prompt
injunctive relief. That cannot be right.



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  The Commission also argues in a single sentence that Apple is unlikely to succeed on the merits because the issues
raised in its brief all require factual analysis. Dkt. 10 at 2. Even accepting this characterization (which is wrong),
the Commission cites no authority suggesting the Standard Havens test cannot be met by showing a likelihood of
prevailing on a mixed question of law and fact. Indeed, Standard Havens involved a quintessential factual
determination—whether a piece of prior art mapped on to the asserted claims. Standard Havens Prods. v. Gencor
Indus., 897 F.2d 511, 514 (Fed. Cir. 1990).
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    Again, at a bare minimum, there should be an interim stay pending the Customs decision on
Apple’s redesigned Watches; that decision is currently scheduled to issue on January 12.



Respectfully submitted,


/s/ Mark D. Selwyn
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cc: Counsel of record (via ECF)
